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                    UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

IN RE:                            )            CHAPTER 11
                                  )
     STAR CHAIN, INC., et al.,    )            CASE NO. 19-65768-wlh
                                  )
          Debtors.                )            Jointly Administered
_________________________________ )

                     WALLIS BANK’S RESPONSE TO
                     DEBTORS’ LIMITED OBJECTION
                  TO WALLIS STATE BANK’S CREDIT BID

      Wallis Bank f/k/a Wallis State Bank (“Wallis”) hereby responds to the

Debtors’ Limited Objection to Wallis’s Credit Bid, as follows:

      In their Limited Objection, the Debtors assert, without support and with

misplaced concern, a variety of conduct and inaction by Wallis that they contend

merits the Court’s attention. They first note that Wallis has not filed a credit bid,

and that the Debtors therefore do not know what form Wallis’ credit bid will take

“despite numerous inquiries by the Debtor’s professionals.” They continue that

Debtors and other parties are “completely in the dark” with regard to how Wallis

plans to consummate any potential credit bid.

      As an initial matter, the deadline in the Order approving the bidding

procedures provides that Wallis’s Initial Overbid is not due before March 23,

2020, one week from today. Wallis cannot formulate its bid until it receives from
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the Debtors the total required “cash component” of its bid, that was due on March

19, 2020 under the bidding procedures Order. The Court has today notified the

Debtors to provide that information today. Wallis also requires the final “cure

costs” of the contracts and leases being assumed and assigned in the transaction,

which won’t be decided until after tomorrow’s hearing.

      As every party in this case has been notified in numerous ways, the proposed

asset sale ultimately requires approval by the Checkers franchisor. The Debtors

admit in their objection that they have been coordinating with Checkers’

management, as has Wallis. As the Debtors correctly observe, there are a limited

number of qualified candidates to purchase these restaurants, because any operator

must have “the qualifications, financial backing and back office infrastructure”

needed to support acquisition of these restaurants.

      The Debtors’ “data room” contains a document setting forth the numerous

well-defined qualifications that Checkers requires any prospective franchisee to

satisfy. The Debtors’ “Bidding Procedures Information Sheet” in that data room

states that every bid must acknowledge that assumption and assignment of any

franchise agreement with Checkers requires satisfaction of those qualifications and

approval by Checkers. Thus, Wallis’s communication with Checkers franchisor

and with its franchisees is unavoidable in this case and is required to

successfully accomplish these Debtors’ liquidation.
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      The Debtors insinuate that, while they have freely communicated with

virtually every qualified potential operator of these restaurants apparently on an

ongoing basis, Wallis engaged in misconduct by communicating with those same

parties. They represent that Mr. Friedberg, who apparently is managing the sale

process for the Debtors, has been identifying, engaging and following up with

prospective bidders, yet Wallis is criticized by implication for engaging in the

same activity.

      The Debtors continue their “limited objection” by attempting to use

inadmissible hearsay to the effect that “Mr. Friedberg has been informed from

multiple parties that Wallis has been in detailed discussions with multiple

prospective parties who Debtors have also engaged.

     On Friday, March 13th, Mr. Friedberg learned more details regarding Wallis

having communicated with multiple Prospects to solicit offers to Wallis regarding

how much debt they would assume to partner with Wallis as part of their desire to

credit bid in the sales process.” Wallis cannot fairly be expected to respond such

vague, conclusory assertions, and Wallis objects to any consideration of such

hearsay. Wallis respectfully submits that due process and fundamental fairness

require that any claimed “facts” be shown by admissible evidence from witnesses

whose statements may confirmed or rebutted by Wallis witnesses and Wallis

objects to Mr. Friedberg’s Declaration on that ground.
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      The Debtors then state that their “concern is that Wallis could effectively be

running a parallel sales process by soliciting offers from current Checkers’

franchisees and potential bidders to partner with Wallis rather than bidding on the

stores directly with the Debtors’ sale process.” Without any evidence in support,

the Debtors claim that Wallis’s “actions have certainly caused confusion amongst

the pool of potential bidders and have potentially chilled the bidding process.

Adding to this confusion are communications Wallis may have had with Prospects

about transacting non-Debtor locations in addition to the Debtor locations.”

      This objection seems cloaked in the pretense that Wallis is engaged in some

nefarious misconduct and that the Debtors are completely surprised that Wallis

intends to credit bid for the assets and re-sell them to an existing Checkers operator

or qualified potential franchisee. Such a position is, of course, inconsistent with

incontrovertible facts and the well-known history in this case. The assets being

offered for sale are being sold as “going concerns”, in order to bring their highest

and best price. The “stalking horse” offer by Sparky Burger, LLC is based upon

that fundamental principle. The goodwill value of these businesses, which may be

their most valuable single asset, and the employment of the people who work in

these restaurants, can only be preserved by their substantially uninterrupted

operation.

      Under the Bankruptcy Code, “credit bidding” at a sale under 11 U.S.C.
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§363(b) is generally a right for secured lenders such as Wallis. RadLAX Gateway

Hotel, LLC v. Amalgamated Bank, 566 U.S. 639, 132 S. Ct. 2065 (2012). As the

Court noted in that case, "[t]he ability to credit-bid helps to protect a creditor

against the risk that its collateral will be sold at a depressed price. It enables the

creditor to purchase the collateral for what it considers the fair market price (up to

the amount of its security interest) without committing additional cash to protect

the loan."

      That right is provided in §363(k), which states that at a sale under §363(b) of

property that is subject to a lien that secures an allowed claim, unless a court for

cause orders otherwise, the holder of such claim may bid at such sale, and, if the

holder of such claim purchases such property, such holder may offset such claim

against the purchase price of such property. E.g., In re CS Mining, LLC, 574 B.R.

259, 261 (Bankr. D. Utah 2017). The existence of that right is recognized and

strengthened by §1129(b)(2)(A), which requires that holders of allowed secured

claims be permitted to credit-bid in an asset sale under a cramdown plan.

      Nothing in those statutes or in any relevant case law applying and

construing them requires a successful credit-bidding creditor to hold or operate

the purchased assets or limits its right to convey those assets to a subsequent

purchaser. Nothing in the Order approving the bidding procedures contains any

such limitation. The Debtors and the Unsecured Creditors Committee proposed
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the procedure for the sale of these assets, and drafted the Order approving the

bidding procedures. Wallis has fully complied with all requirements to date under

that Order. Wallis has made plain since a liquidation sale was first suggested that

it intended to credit bid for those assets. Wallis filed in the public record in these

cases the required notice of its intention and filed its proof of claim in that record

showing that its claim exceeded $4 million.

      Had the Debtors desired to limit the Bank’s right to credit bid, its structure

for the transaction, or to limit the Bank in seeking an operator for these

restaurants from the admittedly limited number of potential buyers, it could have

proposed those limitations for the Court’s consideration. Instead, the Debtors

now seek to retroactively impose such restrictions upon Wallis ex post facto.

Although the Debtors do not make any request for any action by the Court, it

seems plain that they intend to seek Wallis’ disqualification from credit bidding.

      A successful credit bid "by definition . . . becomes the value of the lender's

security interest in the collateral." Cohen v. KB Mezzanine Fund II, LP (In re

SubMicron Sys. Corp.), 432 F.3d 448, 461 (3d Cir. 2006) (brackets omitted). “The

practical rationale for credit bidding is that a secured lender would not outbid a

bidder unless the lender believed it could generate a greater return on the collateral

than the return for the lender represented by the bidder's offer. . . . Conversely, if

a bidder believed that a secured lender was attempting to swoop in and take the
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collateral below market value and keep the upside for itself, that bidder presumably

would make a bid exceeding the credit bid. In this manner, credit bidding is a

method of ensuring to a secured lender proper valuation of its collateral at sale.”

In re Phila. Newspapers, LLC, 599 F.3d 298, 321 (3d Cir. 2010).

       “Although some may argue that credit bidding chills cash bidding, that

argument underwhelms; credit bidding chills cash bidding no more than a deep-

pocketed cash bidder would chill less-well-capitalized cash bidders. Having the

ability to pay a certain price does not necessarily mean there is a willingness to pay

that price. Id.

      "For instance, if a would-be bidder knows that Warren Buffett plans

      to attend an auction, she is also surely aware that Buffett can top her

      reservation price for any or all of the assets on the block. Yet nobody

      proposes to ban wealthy cash bidders from participating in a

      bankruptcy auction. . . . Would-be bidders understand that a deep-

      pocketed player's ability to top their reservation price does not imply a

      willingness to do so. Warren Buffett did not become wealthy by

      overpaying for things, so it is possible, indeed, probable, that his

      reservation price for an asset at auction will be beneath that of another

      buyer. And buyers know this in advance. The same logic holds for

      secured creditors."
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      Buccola and Keller, Credit Bidding and the Design of Bankruptcy Auctions,

18 Geo. Mason L. Rev. 99, 123 (2010).

      The modification or denial of credit bid rights for cause under § 363(k)

should be an extraordinary exception that is used only upon equitable

considerations (e.g., competing claims, collusion, or other fraudulent or bad faith

acts). Compare In re Aéropostale, Inc., 555 B.R. 369, 414-15 (Bankr. S.D.N.Y.

2016) with In re Aloha Airlines, Inc., 2009 Bankr. LEXIS 4588, 2009 WL

1371950 (Bankr. D. Haw. May 14, 2009). Where a creditor holds an uncontested

secured claim, it should ordinarily be permitted to bid at a §363 sale of its

collateral regardless of its intrinsic impact on other bidding. In re RML Dev., Inc.,

528 B.R. 150, 155 n.11 (Bankr. W.D. Tenn. 2014)

      Wallis recognizes that its right to credit bid is not absolute. See In re Fisker

Auto. Holdings, Inc., 510 B.R. 55, 59 (Bankr. D. Del. 2014). Section 363(k) of the

Bankruptcy Code provides that a party may credit bid "unless the court for cause

orders otherwise . . . ." 11 U.S.C. § 363(k) (emphasis added). The term "cause" is

not defined by the Bankruptcy Code, and it is left to the court to determine whether

cause exists on a case-by-case basis. See In re Olde Prairie Block Owner, LLC,

464 B.R. 337, 348 (Bankr. N.D. Ill. 2011); In re River Road Hotel Partners, LLC,

2010 Bankr. LEXIS 5933, 2010 WL 6634603, at *1 (Bankr. N.D. III. Oct. 5, 2010)
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("Section 363 gives courts the discretion to decide what constitutes 'cause' and the

flexibility to fashion an appropriate remedy by conditioning credit bidding on a

case-by-case basis."), aff'd, River Road Hotel Partners, LLC v. Amalgamated

Bank, 651 F.3d 642 (7th Cir. 2011)).

       The decision of whether to limit or deny credit bidding based on cause is

within the discretion of the court. See In re Olde Prairie, 464 B.R. at 348. But this

"discretion does not give the bankruptcy court the authority to act arbitrarily or to

be freewheeling. In other words, the standard is not standardless." In re RML Dev.,

Inc., 528 B.R. 150, 155 (Bankr. W.D. Tenn. 2014) quoting In re Davis, 237 B.R.

177, 182 (M. D. Ala. 1999).

       "Intrinsically, acting 'for cause' looks to the court's equity powers that allow

the court to balance the interests of the debtor, its creditors, and the other parties of

interests in order to achieve the maximization of the estate and an equitable

distribution to all creditors." In re RML, 528 B.R. at 155 (citations omitted). But

"whatever equitable powers remain in the bankruptcy courts must and can only be

exercised within the confines of the Bankruptcy Code." Id. (quoting Law v. Siegel,

134 S. Ct. 1188, 1194-95, 188 L. Ed. 2d 146 (2014)). The "modification or denial

of credit bid rights should be the extraordinary exception and not the norm." In re

RML, 528 B.R. at 156.

      Courts have denied a secured creditor's right to credit bid based upon
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seriously inequitable conduct that directly impacts the estate or the bidding

process. See In re Aéropostale, Inc., supra, 555 B.R. 369 (collecting cases).

Courts also have limited the right to credit bid when the validity of a creditor's lien

is in dispute, In re Daufuskie Islands Props., LLC, 441 B.R. 60, 64 (Bankr. D.S.C.

2010), and where the party seeking to credit bid has failed to comply with the

procedural requirements established by the court for the sale of the collateral. See

Greenblatt v. Steinberg, 339 B.R. 458, 463 (N.D. Ill. 2006) (denying right to credit

bid due to failure to comply with sale procedures order). None of those

circumstances exist in these cases.

      But any decision to limit or deny a secured creditor’s right to credit bid for

“cause” must be based upon remedial, rather than punitive, grounds. In re

Philadelphia Newspapers, LLC, 599 F.3d 298, 315-316 (3d Cir. 2010); In re N.J.

Affordable Homes Corp., 2006 Bankr. LEXIS 4498, 2006 WL 2128624, at *16

(Bankr. D. N.J. June 29, 2006) (stating that cause is "intended to be a flexible

concept enabling a court to fashion an appropriate remedy on a case-by-case

basis") (emphasis added).

      It therefore would be incumbent upon the Debtors to articulate some actual

impact upon the estate or the bidding process, which they have failed to do. For all

these reasons, the Court should reject the Debtors’ “limited objection” to the extent

it seeks to abridge Wallis Bank’s ability to credit bid for its collateral in this case.
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                                       Respectfully submitted,
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                         CERTIFICATE OF SERVICE

      I hereby certify that on this date I caused to be filed the foregoing WALLIS
BANK’S RESPONSE TO DEBTORS’ LIMITED OBJECTION TO WALLIS
STATE BANK’S CREDIT BID using the Court’s CM/ECF system, which will
cause a copy of same to be served electronically upon all parties in interest
appearing in this case or their counsel of record.


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            This 16th day of March, 2020.

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